
McMillan, judge.
The appellant, Samuel Williams, was found guilty of theft of services in the third degree and criminal tampering in the second degree in the municipal court of the City of Montgomery. He appealed this decision to the Montgomery County Circuit Court, where he was found guilty as charged on both offenses. The appellant was fined $500.00 in each case.
The appellant argues that the trial court erred in overruling his objection to an alleged systematic striking of all blacks from the jury. The record indicates that the city attorney struck all nine blacks from the jury with his first nine peremptory challenges. The trial court overruled the defense counsel’s objection and the prosecutor gave no explanations for his strikes.
This case is remanded to the trial court with instructions to give the attorney an opportunity to come forward with race-neutral explanations for his use of the peremptory strikes. If he is unable to do so, and the trial court determines that the facts establish a prima facie case of purposeful discrimination, the appellant is entitled to a new trial. Ex parte Jackson, 516 So.2d 768 (Ala.1986). Should the trial court find no prima facie showing of purposeful discrimination, a return shall be filed with this court containing the evidence at this hearing and the trial judge's findings following the hearing.
REMANDED WITH INSTRUCTIONS.
All the Judges concur.
ON RETURN TO REMAND
McMILLAN, Judge.
In accordance with the Alabama Supreme Court decision in Ex parte Branch 526 So.2d 609, (Ala.1987), this cause is remanded to the trial court to conduct proceedings consistent with the guidelines adopted in the Branch opinion. The trial court is instructed to file findings of facts and conclusions with this Court within a reasonable time after the entry of this remand.
REMANDED WITH INSTRUCTIONS.*
All the Judges concur.

 Reporter's note: On June 20, 1988, the Court of Criminal Appeals entered an order dismissing the appeal.

